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                                                               November 2, 2020

Hon. Valerie E. Caproni
United States District Court
Southern District of New York
40 Foley Square
New York, New York 10007

               Re:     Feibleman v. The Trustees of Columbia University, 19-CV-4327 (VEC)

Dear Judge Caproni:

        We represent Plaintiff Ben Feibleman in the referenced action. Pursuant to Your Honor’s
Order dated June 28, 2019 (ECF 43), we write on behalf of Plaintiff and Defendant The Trustees of
Columbia University in the City of New York (together, the “Parties”) to submit this Joint Report on
the Status and Progress of Discovery (“Joint Report”).

        On September 22, 2020, Plaintiff provided a list of nine current and former Columbia
employees that he seeks to depose. As of this writing, Columbia has not provided any response
regarding the witnesses’ availability. Plaintiff is hopeful that fact discovery can be completed by the
December 31, 2020 deadline, but Columbia’s delay in providing dates for depositions is causing
serious concerns. Plaintiff is also concerned about Columbia’s overuse of the confidentiality
designation in its document production, particularly with regard to Columbia’s Title IX training
materials, and plans on conducting a meet and confer with Columbia on this issue in the very near
future. While Plaintiff acknowledges that the parties are engaged in a mediation before Hon. Daniel
Weinstein (Ret.), Columbia is aware that Plaintiff only agreed to engage in mediation on the
condition that it would not delay discovery in light of Your Honor’s September 8, 2020 directive that
fact discovery will not be extended past December 31, 2020 and specifically stated, “no further
extension of fact discovery is likely to be granted.”

        Columbia acknowledges that the Court has instructed the parties that these Joint Reports are
“not a substitute for the required meet-and-confer process.” See, e.g., ECF 89 at 7. Accordingly,
Columbia does not understand why Plaintiff insists on including the above information regarding the
scheduling of depositions in this Joint Report at this time. More specifically, Columbia wishes to
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inform the Court that the parties are currently engaged in a mediation before the Hon. Daniel
Weinstein (Ret.). If the mediation proves unsuccessful, Columbia is well aware of its discovery
obligations and will make witnesses available for deposition prior to the close of fact discovery. But
there is obviously no point in doing that now before the mediation has concluded.

       Your Honor’s attention to this matter is greatly appreciated.


                                                      Respectfully submitted,




                                                      Kimberly C. Lau
                                                      James E. Figliozzi
cc:    Counsel for Defendant (via ECF)




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